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                                                                                OF CALIFORNIA
                                                                             CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself                     )        DEFENDANTS                 ( Check box if you are representing yourself                  )

YANTABULOUS, LLC                                                                             AMCO Insurance Company


(b) County of Residence of First Listed Plaintiff Los Angeles                               County of Residence of First Listed Defendant State of Iowa
(EXCEPT IN U.S. PLAINTIFF CASES)                                                            (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                          Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                        representing yourself, provide the same information.
Stephen Losh & Joseph Khoshlesan, Losh & Khoshlesan, LLP                                     Marc S. Hines, Brian Pelanda and Nicole Hampton of Hines Hampton Pelanda, LLP
8889 W. Olympic Blvd., Penthouse Suite                                                       30 Executive Park, Ste. 210
Beverly Hills, CA 90211                                                                      Irvine, CA 92614
Tel: (310) 299-2283                                                                          Tel: (714) 513-1122
II. BASIS OF JURISDICTION (Place an X in one box only.)                             III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                         (Place an X in one box for plaintiff and one for defendant)
                                                                                                                 PTF        DEF                                            PTF       DEF
    1. U.S. Government                  3. Federal Question (U.S.                                                      1          1   Incorporated or Principal Place            4         4
                                                                                    Citizen of This State
    Plaintiff                           Government Not a Party)                                                                       of Business in this State
                                                                                    Citizen of Another State           2          2   Incorporated and Principal Place           5         5
                                                                                                                                      of Business in Another State
    2. U.S. Government                  4. Diversity (Indicate Citizenship          Citizen or Subject of a
                                                                                    Foreign Country                    3          3 Foreign Nation                               6         6
    Defendant                           of Parties in Item III)

IV. ORIGIN (Place an X in one box only.)
                                                                                                                                             6. Multidistrict        8. Multidistrict
     1. Original        2. Removed from             3. Remanded from         4. Reinstated or         5. Transferred from Another               Litigation -            Litigation -
       Proceeding          State Court                 Appellate Court          Reopened                 District (Specify)                     Transfer                Direct File


V. REQUESTED IN COMPLAINT: JURY DEMAND:                                   Yes          No       (Check "Yes" only if demanded in complaint.)
CLASS ACTION under F.R.Cv.P. 23:                        Yes         No                        MONEY DEMANDED IN COMPLAINT: $ 240,000.00+
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause.                 Do not cite jurisdictional statutes unless diversity.)
This is a State Court action removed. The Court has diversity jurisdiction under 28 U.S.C Section 1332.

VII. NATURE OF SUIT (Place an X in one box only).
     OTHER STATUTES                  CONTRACT             REAL PROPERTY CONT.               IMMIGRATION                    PRISONER PETITIONS                   PROPERTY RIGHTS
    375 False Claims Act           110 Insurance               240 Torts to Land            462 Naturalization               Habeas Corpus:                820 Copyrights
                                                                                            Application
                                   120 Marine                   245 Tort Product                                            463 Alien Detainee             830 Patent
    376 Qui Tam                                                 Liability                 465 Other                         510 Motions to Vacate
    (31 USC 3729(a))                                            290 All Other Real                                          Sentence                       835 Patent - Abbreviated
                                   130 Miller Act                                         Immigration Actions
    400 State                                                   Property                      TORTS                         530 General                    New Drug Application
                                    140 Negotiable
    Reapportionment                 Instrument                      TORTS               PERSONAL PROPERTY                   535 Death Penalty              840 Trademark
    410 Antitrust                   150 Recovery of           PERSONAL INJURY                                                                                 SOCIAL SECURITY
                                                                                          370 Other Fraud                         Other:
    430 Banks and Banking           Overpayment &              310 Airplane                                                                                861 HIA (1395ff)
                                    Enforcement of                                          371 Truth in Lending            540 Mandamus/Other
    450 Commerce/ICC                                           315 Airplane
                                    Judgment                   Product Liability                                            550 Civil Rights               862 Black Lung (923)
    Rates/Etc.                                                                              380 Other Personal
                                    151 Medicare Act           320 Assault, Libel &         Property Damage                 555 Prison Condition           863 DIWC/DIWW (405 (g))
    460 Deportation                                            Slander
    470 Racketeer Influ-            152 Recovery of                                         385 Property Damage             560 Civil Detainee             864 SSID Title XVI
                                                               330 Fed. Employers'          Product Liability               Conditions of
    enced & Corrupt Org.            Defaulted Student          Liability
                                    Loan (Excl. Vet.)                                                                       Confinement                    865 RSI (405 (g))
    480 Consumer Credit                                                                      BANKRUPTCY
                                                               340 Marine                                              FORFEITURE/PENALTY
    490 Cable/Sat TV               153 Recovery of                                          422 Appeal 28                                                       FEDERAL TAX SUITS
                                                               345 Marine Product           USC 158
                                   Overpayment of              Liability                                                625 Drug Related                   870 Taxes (U.S. Plaintiff or
    850 Securities/Com-            Vet. Benefits                                            423 Withdrawal 28           Seizure of Property 21             Defendant)
    modities/Exchange                                          350 Motor Vehicle            USC 157                     USC 881
                                   160 Stockholders'                                                                                                       871 IRS-Third Party 26 USC
    890 Other Statutory            Suits                       355 Motor Vehicle             CIVIL RIGHTS                690 Other                         7609
    Actions                                                    Product Liability
                                    190 Other                                               440 Other Civil Rights                LABOR
    891 Agricultural Acts                                      360 Other Personal
                                    Contract                   Injury                       441 Voting                     710 Fair Labor Standards
    893 Environmental                                                                                                      Act
    Matters                        195 Contract                362 Personal Injury-
                                   Product Liability           Med Malpratice               442 Employment                 720 Labor/Mgmt.
    895 Freedom of Info.                                       365 Personal Injury-         443 Housing/                   Relations
    Act                            196 Franchise                                            Accommodations
                                                               Product Liability                                           740 Railway Labor Act
    896 Arbitration                REAL PROPERTY                                            445 American with
                                                               367 Health Care/                                            751 Family and Medical
                                   210 Land                    Pharmaceutical               Disabilities-
    899 Admin. Procedures                                                                   Employment                     Leave Act
                                   Condemnation                Personal Injury
    Act/Review of Appeal of                                    Product Liability            446 American with              790 Other Labor
    Agency Decision                220 Foreclosure
                                                                                            Disabilities-Other             Litigation
                                                               368 Asbestos
    950 Constitutionality of       230 Rent Lease &            Personal Injury                                             791 Employee Ret. Inc.
                                                                                            448 Education
    State Statutes                 Ejectment                   Product Liability                                           Security Act

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VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.
QUESTION A: Was this case removed
from state court?                                                   STATE CASE WAS PENDING IN THE COUNTY OF:                                     INITIAL DIVISION IN CACD IS:
                    Yes         No
                                                         Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                            Western
If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the                 Orange                                                                                             Southern
corresponding division in response to
Question E, below, and continue from there.              Riverside or San Bernardino                                                                         Eastern



QUESTION B: Is the United States, or B.1. Do 50% or more of the defendants who reside in                             YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  the district reside in Orange Co.?                                              Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                            from there.
                                                    check one of the boxes to the right
                    Yes         No
                                                                                                                     NO. Continue to Question B.2.

                                                    B.2. Do 50% or more of the defendants who reside in              YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question C. If "yes," answer      the district reside in Riverside and/or San Bernardino           Enter "Eastern" in response to Question E, below, and continue
Question B.1, at right.                             Counties? (Consider the two counties together.)                  from there.

                                                    check one of the boxes to the right                              NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.

QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the                         YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                                                  Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                            from there.
                                                    check one of the boxes to the right
                    Yes         No
                                                                                                                     NO. Continue to Question C.2.

                                                    C.2. Do 50% or more of the plaintiffs who reside in the          YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer      district reside in Riverside and/or San Bernardino               Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                             Counties? (Consider the two counties together.)                  from there.

                                                    check one of the boxes to the right                              NO. Your case will initially be assigned to the Western Division.
                                                                                                                     Enter "Western" in response to Question E, below, and continue
                                                                                                                     from there.
                                                                                                                A.                         B.                             C.
                                                                                                                                    Riverside or San            Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                    Orange County                Bernardino County            Santa Barbara, or San
                                                                                                                                                                 Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)

                D.1. Is there at least one answer in Column A?                                                 D.2. Is there at least one answer in Column B?
                                        Yes              No                                                                           Yes            No
                    If "yes," your case will initially be assigned to the                                         If "yes," your case will initially be assigned to the
                                 SOUTHERN DIVISION.                                                                             EASTERN DIVISION.
     Enter "Southern" in response to Question E, below, and continue from there.                                  Enter "Eastern" in response to Question E, below.
                          If "no," go to question D2 to the right.                                           If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                                 Enter "Western" in response to Question E, below.


QUESTION E: Initial Division?                                                                                               INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above:                                                                WESTERN

QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                    Yes              No
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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                         NO                  YES

        If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                     NO                  YES
        If yes, list case number(s):


        Civil cases are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. For other reasons would entail substantial duplication of labor if heard by different judges.

        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by different judges.


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): /s/: Nicole Hampton                                                                                 DATE: February 18, 2022

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                   (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

        863                       DIWC             All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

        863                       DIWW             All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
                                                   amended. (42 U.S.C. 405 (g))


        864                       SSID             All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                   amended.

        865                       RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 U.S.C. 405 (g))




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